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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF OKLAHOMA

 DEANDRE BROWN,                        §
                                       §
              Plaintiff,               §
                                       §
 vs.                                   §     Case No. 5:21-cv-00855-F
                                       §
 HEALTHCARE REVENUE                    §
 RECOVERY GROUP, LLC.,                 §
 d/b/a ARS ACCOUNT                     §
 RESOLUTION SERVICES.,                 §
                                       §
              Defendant.               §

        DEFENDANT’S DISCLOSURE STATEMENT IDENTIFYING
             CONSTITUENTS OF LLC OR PARTNERSHIP

       Defendant, Healthcare Revenue Recovery Group, LLC d/b/a ARS

Account Resolution Services, by and through its undersigned counsel, files

this Disclosure Statement Identifying Constituents of LLC or Partnership

pursuant to LCvR7.1.1, and would respectfully show as follows:

       1.     Plaintiff has not invoked federal jurisdiction in this case on the

basis of diversity of citizenship with an LLC or partnership.            Instead,

Plaintiff has invoked federal jurisdiction in this case on the basis of federal

question pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). [ECF

No. 1, p. 2, ¶ 2].

       2.     The full name of this Defendant is Healthcare Revenue

Recovery Group, LLC (“HRRG”), who does business in Oklahoma as ARS


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Account Resolution Services.

     3.     HCFS Health Care Financial Services, LLC (“HCFS”) is the sole

member of HRRG.

     4.     Neither HRRG nor HCFS is a publicly held corporation.

     5.     Neither HRRG nor HCFS is a governmental entity.

Dated: September 23, 2021.          Respectfully submitted,

                                    /s/ Kevin T. Crocker
                                    Kevin T. Crocker, Esq.
                                    Texas Bar No. 05087250

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                                    ATTORNEYS FOR DEFENDANT
                                    HEALTHCARE REVENUE RECOVERY
                                    GROUP, LLC d/b/a ARS ACCOUNT
                                    RESOLUTION SERVICES

                       CERTIFICATE OF SERVICE

      This is to certify that on the 23rd day of September 2021, a true and
correct copy of the above and foregoing “Defendant’s Disclosure Statement
Identifying Constituents of LLC or Partnership” was served via the Court’s
CM/ECF system and/or by e-mail transmission on counsel for Plaintiff,
Nkem A. House, Esq., House Law Group, 527 N.W. 23rd Street, Suite 200,
Oklahoma City, Oklahoma 73072, (405) 602-5393 [Telephone], e-mail:
houselawfirm@gmail.com.
                                    /s/ Kevin T. Crocker
                                    Kevin T. Crocker, Esq.


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